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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,          )
                                    )
            Plaintiff,             )
                                    )
VS.                                )                 CR. NO. 1:17-10022-STA
                                    )
ADDIE COLE,                        )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on July 24, 2018, Assistant United States Attorney, Matt Wilson,
appearing for the Government and the defendant, Addie Cole, appearing in person, and with counsel,
Mark Donahoe.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 2 of the Superceding Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, OCTOBER 23, 2018 at 11:00 A.M., before
Chief S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 24th day of July, 2018.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
